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   Attorney for Plaintiff Rebekah Massie
10

11                      IN THE UNITED STATES DISTRICT COURT

12                            FOR THE DISTRICT OF ARIZONA

13    Rebekah Massie; and Quintus Schulzke,           Case No: 2:24-cv-02276-ROS--DMF

14                               Plaintiffs,
            v.                                          STIPULATED MOTION TO
15                                                     EXTEND DEADLINE TO FILE
      City of Surprise, a municipal corporation      RESPONSE TO PLAINTIFF’S FIRST
16    and a governmental entity; Skip Hall, in his       AMENDED COMPLAINT
      individual capacity; and Steven Shernicoff,
17    in his individual capacity,                               (Third Request)

18
                                 Defendants.
19

20
           Plaintiff Rebekah Massie and Defendants City of Surprise, a municipal corporation
21
     and a government entity, Skip Hall, in his individual capacity, and Steven Shernicoff, in
22

23                                             —1—
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 1 his individual capacity (the “Parties”), by and through undersigned counsel, hereby file this

 2 Motion to extend the deadline for Defendants to respond to Plaintiff’s First Amended
     Complaint. On January 17, 2025, Plaintiff filed her First Amended Complaint. On January
 3
     27, 2025, the parties engaged in a LRCiv. 12.1 meeting in which several possible motions
 4
     to dismiss issues were raised. The deadline to answer, or otherwise respond to, the First
 5 Amended Complaint is February 7, 2024. The parties wish to continue discussions

 6 regarding potential dispositive issues and consider the possibility of case resolution and,
   for those reasons, request a 60-day extension of the February 7, 2025 date for these
 7
   purposes.
 8        This Stipulated Motion is made for good cause, in good faith, and not for the purpose

 9 of undue delay.
           A Proposed Order is attached hereto as Exhibit A.
10
           DATED this 5th day of February, 2025.
11
                                              JELLISON LAW OFFICES, PLLC
12

13                                            By: s/ James M. Jellison
                                              James M. Jellison, Esq.
14                                            Attorney for Defendants City of Surprise, Skip
                                              Hall and Steven Shernicoff
15
                                              FOUNDATION FOR INDIVIDUAL RIGHTS
16                                            AND EXPRESSION

17                                            By: s/ Conor T. Fitzpatrick
                                              Conor T. Fitzpatrick, Esq.
18                                            Adam B. Steinbaugh, Esq.
                                              Attorneys for Plaintiff Rebekah Massie
19
                                              DANIEL J. QUIGLEY, P.L.C.
20
                                              By: s/ Daniel J. Quigley
21                                            Daniel J. Quigley
                                              Attorney for Plaintiff Rebekah Massie
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 2                        CERTIFICATE OF FILING AND MAILING

 3          I hereby certify that on February 5, 2025, I electronically transmitted the attached
 4 document to the Clerk’s office using the CM/ECF system for filing and transmittal of a
     Notice of Electronic filing to the following registrants:
 5

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17 By: s/ Alex Wasko

18

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23                                              —3—
